       Case 4:23-cv-03659 Document 18-1 Filed on 01/23/24 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RADLEY BRADFORD, individually,                         )
and on behalf of all others similarly                  )
situated,                                              )
                                                       )
                Plaintiff,                             )       Civil Action No. 4:23-cv-03659
                                                       )
v.                                                     )
                                                       )
COMCAST CABLE                                          )
COMMUNICATIONS, LLC,                                   )
                                                       )
                Defendant.                             )

                              PROPOSED SCHEDULING ORDER

 1.       Plaintiff’s Position: March 30,     AMENDMENTS TO PLEADINGS AND
          2024.                               ADDITION OF NEW PARTIES
                                              Party requesting joinder will furnish a copy of this
          Defendant’s Position: Within        scheduling order to new parties.
          ninety (90) days of any Answer
          Comcast files in this action.

 2a.      To be determined by the Court.      EXPERTS
                                              Plaintiff, or party with the burden of proof, will
                                              designate expert witnesses in writing, listing the
                                              qualifications of each expert, the opinions the expert
                                              will present, and the bases for the opinions as required
                                              under Federal Rule of Civil Procedure 26(A)(2).

 2b.      To be determined by the Court.      Defendant, or party without the burden of proof, will
                                              designate expert witnesses in writing, listing the
                                              qualifications of each expert, the opinions the expert
                                              will present, and the bases for the opinions as required
                                              under Federal Rule of Civil Procedure 26(A)(2).

 3.       Plaintiff’s Position: January 30,   DISCOVERY
          2025.                               Counsel may, by agreement continue discovery beyond
                                              the deadline. No continuance will be granted because of
          Defendant’s Position: February      information acquired in post-deadline discovery.
          6, 2026.
      Case 4:23-cv-03659 Document 18-1 Filed on 01/23/24 in TXSD Page 2 of 2




4.       Plaintiff’s Position: February     MOTIONS DEADLINE
         30, 2025.                          Including any motion challenging an expert witness
                                            (only motions in limine on issues other than experts may
         Defendant’s Position: May 6,       be filed after this date). The motion deadline may not
         2026.                              be changed by agreement.

5a.      To be determined by the Court.     JOINT PRETRIAL ORDER
                                            THE DEFENDANT shall supply the Plaintiff with a
                                            final version of its pretrial order by this date. (Where
                                            available, Defendant should supply Plaintiff with an
                                            electronic copy.)

5b.      To be determined by the Court.     THE PLAINTIFF is responsible for filing the pretrial
                                            order on this date. All Motions in Limine must also be
                                            filed by this date.

6.       To be determined by the Court.     DOCKET CALL is set at 1:30 p.m. in Courtroom 9A.

7.       To be determined by the Court.     TRIAL is set 9:00 a.m. in Courtroom 9A.
                                            Case is subject to being called to trial on short notice
                                            during the two week period beginning on this date.


        The Clerk shall enter this Order and provide a copy to all parties.

        SIGNED on                                     , at Houston, Texas.




                                                      Alfred H. Bennett
                                                      United States District Judge
